
912 A.2d 206 (2006)
OLD FORGE SCHOOL DISTRICT, Lawrence S. Herman, D.C., Nachas, Inc., Jason H. Herman, Robert Petty, R.G. Petty Masonry, on Behalf of Themselves and all Others Similarly Situated
v.
HIGHMARK INC., d/b/a Highmark Blue Cross Blue Shield and Pennsylvania Blue Shield, a Non-Profit Pennsylvania Corporation, Hospital Service Association of Northeastern Pennsylvania, d/b/a Blue Cross of Northeastern Pennsylvania., Commonwealth of Pennsylvania, Insurance Department and Insurance Commissioner of the Commonwealth of Pennsylvania
Appeal of Lawrence S. Herman, D.C., Nachas, Inc., and Jason H. Herman, on Behalf of Themselves and all Others Similarly Situated.
Supreme Court of Pennsylvania.
December 27, 2006.

ORDER
PER CURIAM.
The Order of the Commonwealth Court is AFFIRMED.
